

People v Iglus (2024 NY Slip Op 01492)





People v Iglus


2024 NY Slip Op 01492


Decided on March 15, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 15, 2024

PRESENT: WHALEN, P.J., SMITH, LINDLEY, CURRAN, AND BANNISTER, JJ. (Filed Mar. 15, 2024.)


KA 21-00418.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vTERRY T. IGLUS, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion to dismiss appeal granted. Matter remitted to Ontario County Court to vacate judgment of conviction and dismiss indictment (see People v Matteson , 75 NY2d 745, 747 [1989]).








